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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                                  CASE NO.: 1:05cr40-SPM

JUAN JESUS GOMEZ,

           Defendant.
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                     ORDER CONTINUING SENTENCING

        For good cause shown, Defendant Juan Jesus Gomez’s unopposed

motion to continue sentencing hearing (doc. 395) is granted. The sentencing

hearing for Defendant Juan Jesus Gomez is reset for 1:30 p.m. on March 5,

2007.

        SO ORDERED this 5th day of January, 2007.


                                   s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
